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8                                    UNITED STATES DISTRICT COURT

9                                    EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                          No. Cr. F 03-5453 LJO

12                      Plaintiff,                      UNOPPOSED REQUEST TO EXTEND
                                                        DEADLINE AND AMEND BRIEFING
13          v.                                          SCHEDULE; ORDER

14   EDISON ODISHO SHINO,
                                                        Judge: Honorable LAWRENCE J. O’NEILL
15                      Defendant.

16          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
17   hereby requests that the deadline to file a reply to the government’s response (CR #470) be
18   extended to March 6, 2015. Counsel for the government, Assistant U.S. Attorney Kathleen A.
19   Servatius, graciously indicated that she has no objection.
20   Dated: February 25, 2015
21                                                        Respectfully submitted,
22                                                        HEATHER E. WILLIAMS
                                                          Federal Defender
23
24                                                        /s/ David M. Porter
                                                          DAVID M. PORTER
25                                                        Assistant Federal Defender
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1                                                ORDER
2           Pursuant to the unopposed request, and good cause appearing therefor, it is hereby ordered

3    that the defendant’s reply shall be filed on or before March 6, 2015.

4
     SO ORDERED
5    Dated: February 26, 2015
6                                                         /s/ Lawrence J. O’Neill
                                                         United States District Judge
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